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  United States Court of Appeals
                             for the

                    Fifth Circuit

                         Case No. 23-10326

 BRAIDWOOD MANAGEMENT, INCORPORATED; JOHN SCOTT
 KELLEY; KELLEY ORTHODONTICS; ASHLEY MAXWELL; ZACH
               MAXWELL; JOEL STARNES,
                              Plaintiffs-Appellees/Cross-Appellants,
            JOEL MILLER; GREGORY SCHEIDEMAN,
                                          Plaintiffs-Cross-Appellants,
                                v.
XAVIER BECERRA, SECRETARY, U.S. DEPARTMENT OF HEALTH
  AND HUMAN SERVICES, in his official capacity as Secretary of
   Health and Human Services; UNITED STATES OF AMERICA;
     JANET YELLEN, SECRETARY, U.S. DEPARTMENT OF
  TREASURY, in her official capacity as Secretary of the Treasury;
   JULIE A. SU, ACTING SECRETARY, U.S. DEPARTMENT OF
       LABOR, in her official capacity as Secretary of Labor,
                            Defendants-Appellants/Cross-Appellees.
                  _____________________________
     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF TEXAS


          BRIEF FOR AMICUS CURIAE BLUE CROSS
          BLUE SHIELD ASSOCIATION IN SUPPORT
              OF APPELLANTS AND VACATUR


                                       K. LEE BLALACK II
                                       BRIAN D. BOYLE
                                       JORDAN PETER ASCHER
                                       O’MELVENY & MYERS LLP
                                       Attorneys for Amicus Curiae
                                       1625 Eye Street, N.W.
                                       Washington, D.C. 20006
                                       (202) 383-5374
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       CORPORATE DISCLOSURE STATEMENT AND
  SUPPLEMENTAL STATEMENT OF INTERESTED PERSONS

     Pursuant to Fifth Circuit Rule 29.2, the undersigned counsel of

record certifies that the following listed entity, in addition to the persons

and entities listed in the parties’ briefs, has an interest in the outcome of

this case. This representation is made so that the judges of this Court

may evaluate possible disqualification or recusal.

     Amicus curiae Blue Cross Blue Shield Association is a non-

profit entity with no parent corporation, and no publicly traded

corporation has any ownership interest in it of any kind.

     June 27, 2023                                    /s/ K. Lee Blalack II
                                                      K. Lee Blalack II




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                    INTEREST OF AMICUS CURIAE

      The Blue Cross Blue Shield Association (“BCBSA”) is the non-profit

association that promotes the national interests of 34 independent,

community-based, and locally operated Blue Cross Blue Shield health

insurance companies (“Blue Plans”).1 Together, the Blue Plans provide

health insurance for 115 million people—one in three Americans—in

every zip code in all fifty states, the District of Columbia, and Puerto Rico.

Blue Plans offer a variety of insurance products to all segments of the

population, including federal employees, large employer groups, small

businesses, and individuals. As leaders in the healthcare community for

more than ninety years, Blue Plans seek to expand access to quality

healthcare for all Americans and have extensive knowledge of and

experience with the health insurance marketplace.                BCBSA has an

interest in advising the Court regarding the public interest arising from

the legal mandate that health insurers and health plans offer

beneficiaries preventive health care services without cost sharing, which

is the subject of this suit.


1Counsel for all parties have consented to the filing of this brief. This
brief was not authored in whole or in part by counsel for a party and no
one other than amicus or its counsel has contributed money for this brief.
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                       SUMMARY OF ARGUMENT

     Under the Affordable Care Act (“ACA”), health insurers must cover

certain preventive services without any cost-sharing requirement—in

other words, at no out-of-pocket cost to policyholders (“the Preventive

Services Mandate”).     42 U.S.C. § 300gg-13(a).          This requirement—a

cornerstone of the ACA—has had immensely positive social and economic

effects. Preventive services are now much more widely accessible than

they were before the ACA. The Preventive Services Mandate has reduced

morbidity and mortality. It has eased longstanding racial and economic

inequities in health access and outcomes.             And it has incentivized

patients to avail themselves of less-costly preventive care, reducing the

need for expensive and disruptive interventions that may not produce the

same successful health outcomes.            In short, the Preventive Services

Mandate has confirmed the truth in the old adage:                   an ounce of

prevention is worth a pound of cure.

     The district court’s decisions in this case threaten to unwind this

hard-won progress. The district court concluded, among other things,

that the operation of the U.S. Preventive Services Task Force (the “Task

Force”), a body charged with identifying certain preventive services that


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insurers must cover, see 42 U.S.C. § 300gg-13(a)(1), violates the

Appointments Clause of the U.S. Constitution. To remedy that violation,

the district court vacated all agency action postdating the ACA’s

enactment that implemented the Task Force’s recommendations and

prospectively enjoined any agency action to do so.

     That was error.      Before ordering permanent equitable relief—

especially on a nationwide basis—the district court was obligated to

consider whether any such relief would be in the public interest. It did

not do so. If it had performed that analysis, it would have encountered

overwhelming evidence that the Preventive Services Mandate has

greatly improved the accessibility of essential coverage, and that rolling

it back would have the opposite effect, causing enormous disruption for

patients, health plans, and healthcare providers.             Indeed, immense

amounts of research, reporting, and analysis confirm that the Preventive

Services Mandate has been an enormous policy success, and that the

public interest strongly favors maintaining it. Because the district court

erred in failing to consider the public interest, this Court should vacate

the district court’s remedial order.




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                              ARGUMENT

I.   THE DISTRICT COURT FAILED TO CONSIDER THE
     PUBLIC INTEREST BEFORE IMPOSING ITS SWEEPING,
     NATIONWIDE REMEDY.

     Eliminating the Preventive Services Mandate would cause a range

of disruptive consequences for patients, health plans, and healthcare

providers. Nevertheless, the district court, in fashioning a nationwide

remedy, failed to account for these public-interest considerations.

     As relevant here, the district court ordered two forms of relief—

vacatur under the Administrative Procedure Act (“APA”) of all agency

action “taken to implement or enforce the preventive care coverage

requirements in response to an ‘A’ or ‘B’ recommendation by the U.S.

Preventive Services Task force on or after March 23, 2010 and made

compulsory under 42 U.S.C. § 300gg-13(a)(1)[,]” and a permanent,

nationwide injunction barring the government from “implementing or

enforcing [the Preventive Services Mandate’s] compulsory coverage

requirements in response to an ‘A’ or ‘B’ rating from the Task Force in

the future.” Dist. Ct. D.E. 113 at 27.

     This sweeping injunctive relief may only be imposed pursuant to

the principles of equity. See, e.g., 5 U.S.C. § 702(1) (relief under the APA


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may be denied “on any . . . equitable ground”); Arizona v. Biden, 40 F.4th

375, 396–97 (6th Cir. 2022) (Sutton, C.J., concurring) (collecting

authorities tying relief under the APA to equitable principles); eBay Inc.

v. MercExchange, LLC, 547 U.S. 388, 391 (2006) (the entry of a

permanent injunction is governed by “well-established principles of

equity”). Key among these principles is that equitable relief must be in

the public interest. Stevens v. St. Tammany Parish Gov’t, 17 F.4th 563,

576 (5th Cir. 2021) (“A party seeking a permanent injunction must

establish . . . that the injunction will not disserve the public interest.”

(internal quotation marks omitted)); eBay, 547 U.S. at 391 (same).

Moreover, a district court seeking to “make a binding judgment for the

entire country” by issuing a nationwide injunction that extends beyond

the litigants must justify “the scope of the injunction” “based on the

circumstances.” Louisiana v. Becerra, 20 F.4th 260, 263 (5th Cir. 2021)

(internal quotation marks omitted); see also CASA de Maryland, Inc. v.

Trump, 971 F.3d 220, 259 (4th Cir. 2020) (“[T]he attendant practical

consequences of this drastic and extraordinary remedy [a nationwide

injunction]   should   restrict   its       use   to   the    most    exceptional

circumstances.”).


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      Under these principles, the district court erred in entering

nationwide equitable relief. Such relief is far more “burdensome . . . than

necessary to provide complete relief to the plaintiffs.” Madsen v. Women’s

Health Ctr., Inc., 512 U.S. 753, 765 (1994).           At the same time, an

injunction—especially one effective as to all Americans—would

undermine the public interest.         See Stevens, 17 F.4th at 576.           As

explained hereafter, the Preventive Services Mandate has improved the

health of millions of Americans and improved the efficiency and

effectiveness of the healthcare system. The district court’s exercise of its

equitable power to enjoin enforcement of the mandate not only as to the

few litigants before it, but for all stakeholders across the country, will

cause enormous disruption and threaten this demonstrable progress.

The district court did not consider whether the public interest favored an

injunction—especially one so broad. That was error. This Court should

therefore vacate the district court’s remedial order.

II.   THE PUBLIC INTEREST STRONGLY COUNSELS AGAINST
      A NATIONWIDE INJUNCTION BARRING ENFORCEMENT
      OF THE PREVENTIVE SERVICES MANDATE.

      Had the district court undertaken a review of public interest

considerations, it would have found strong reasons to exercise restraint


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in fashioning a remedy for these few plaintiffs’ claims. Through the

ACA’s mandate that plans cover, without cost-sharing, preventive

services recommended by the Task Force, Americans have gained access

to a wide range of critical preventive services—including a number of

cancer screenings, smoking cessation interventions, and mental health

treatments.2   The increased accessibility of preventive services has

improved health outcomes, led to greater economic and racial equity in

health care, and reduced costs for patients and the healthcare system as

a whole.

     Indeed, increasing the accessibility and use of preventive services

was a key objective for Congress in enacting the ACA. As the House

Committee on Energy and Commerce, quoting the then-Secretary of

Health and Human Services, put it when considering the bill that

eventually became the ACA, “[F]or too long, we’ve sunk all our resources

into cures and short-changed prevention.              Preventing disease and

controlling its effects over time must be the foundation of our health care

system.” H. Rep. 111-299, pt. 1, at 326 (2009). And the House Ways and


2 Preventive Services Tracker, Kaiser Fam. Found. (Apr. 26, 2023),
https://perma.cc/C2F2-U56T; A & B Recommendations, U.S. Preventive
Services Task Force, https://perma.cc/V665-7P5G.
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Means Committee explained that the ACA’s “reforms are designed to

make the nation’s health care system more efficient . . . in large part by

recognizing the importance of primary and preventive care.” H. Rep. 111-

299, pt. 2, at 198 (2009).

     A.    Preventive services without cost-sharing has improved
           health outcomes.

     As Congress hoped, the ACA’s requirement that plans cover

preventive services without cost-sharing has dramatically increased the

accessibility of preventive services and improved health outcomes. In a

typical year, approximately 100 million people obtain at least one

preventive service without any out-of-pocket cost.3              The Preventive

Services Mandate has contributed to increases in, among other things,

colorectal cancer screenings, blood pressure and cholesterol screenings,

and general wellness visits.4 As one meta-analysis concluded, the ACA’s


3Krutika Amin et al., Preventive Services Use Among People with Private
Insurance Coverage, Kaiser Fam. Found. (Mar. 20, 2023),
https://perma.cc/DYj4-EPXC.
4 Off. of Assistant Sec’y for Plan. & Evaluation, Dep’t of Health & Hum.
Servs., Access to Preventive Services Without Cost-Sharing: Evidence
from the Affordable Care Act (Jan. 11, 2022), https://perma.cc/ZL9S-
BTJX; see also Xuesong Han et al., Has Recommended Preventive Service
Use Increased After Elimination of Cost-Sharing as Part of the Affordable
Care Act in the United States?, 78 Prev. Med. 85 (Sept. 2015),

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goal of increasing the use of preventive services “appears to have been

accomplished. Studies using multiple research designs and empirical

approaches find reductions in cost-related delays in care and an

increased share of the population with a personal physician and regular

location of care. Studies have found increased use of preventive services

ranging from wellness exams to diabetes screening[.]”5

     The health benefits of expanded access to preventive services are

now indisputable. Preventive services, for instance, help patients avoid

the onset of chronic conditions (e.g., diabetes screening can identify pre-

diabetes and allow for behavioral interventions to prevent the onset of

diabetes), allow for earlier interventions (e.g., screenings that lead to

early detection and treatment of cancer), and reduce acute health events

(e.g., emergency department visits caused by undetected chronic




https://tinyurl.com/5arrnkv7 (“Receipt of recent blood pressure check,
cholesterol check and flu vaccination increased significantly from 2009 to
2011/2012[.]”); Laura Skopec & Jessica Banthin, Free Preventive Services
Improve Access to Care, Urban Institute (July 2022), https://perma.cc/
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5Jonathan Gruber & Benjamin D. Sommers, The Affordable Care Act’s
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conditions).6 Ultimately, the evidence is compelling that ready access to

preventive services without cost-sharing improves health outcomes and

saves lives.7

      Not only does the provision of preventive services without cost-

sharing improve overall population health, it also improves the equity of

health outcomes. “[L]ow-socioeconomic status groups, and those who

experience the greatest financial barriers to care, appear to benefit the

most from cost-sharing elimination” for preventive services.8 Similarly,

the provision of preventive services without cost-sharing has reduced

health disparities between minority and non-minority populations.9


6 See, e.g., id. at 14–17 (documenting studies demonstrating salutary
effects of preventive services on population health).
7 See, e.g., Jared B. Fox & Frederic E. Shaw, Clinical Preventive Services
Coverage and the Affordable Care Act, 105 Am. J. Pub. Health e7, e7
(2015), https://tinyurl.com/yc4uy7bj.
8Kara Gavin, What Happens When Preventive Care Becomes Free to
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U9CX-CB7T.
9 Kenneth E. Thorpe, Racial Trends in Clinical Preventive Services Use,
Chronic Disease Prevalence, and Lack of Insurance Before and After the
Affordable Care Act, 28 Am. J. of Managed Care (Apr. 2022),
https://tinyurl.com/5ywmu966 (the Preventive Services Mandate caused
“greater growth in the use of mammograms and colonoscopies among
minority populations. The results also saw relative reductions in
hypertension, coronary heart disease, and fair or poor mental health”);

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     B.    Preventive services reduce long-term costs for patients
           and the health care system overall.

     As Congress anticipated, preventive services—in addition to

improving health outcomes—promote efficiency and reduce long-term

health care costs. See H. Rep. 111-299, pt. 2, at 198 (2009) (“recognizing

the importance of primary and preventive services” and remarking that

preventive services are a key part of the ACA’s goal “to make the nation’s

health care system more efficient”).            The immediate effect of the

Preventive Services Mandate is to reduce out-of-pocket costs for patients

who access such services, even if those services may raise the short-term

costs of health plan sponsors and health insurers. But, over the longer

term, the mandate reduces the costs of health care delivery for all

stakeholders.    By encouraging early intervention, the Preventive

Services Mandate can reduce the need for costly curative care later.10



see also Cagdas Agirdas & Jordan G. Holding, Effects of the ACA on
Preventive Care Disparities, 16 App. Health Econ. & Health Pol. 859
(2018), https://tinyurl.com/eu2fcan2.
10Shirley Musich et al., The Impact of Personalized Preventive Care on
Health Care Quality, Utilization, and Expenditures, 19 Pop. Health
Mgmt. 389 (2016), https://tinyurl.com/y6mz546e (“[A] model of
personalized preventive care focused on wellness and prevention and
augmenting the physician-patient relationship can improve health

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The Preventive Services Mandate “incentivizes and drives patients and

providers toward the most valuable services” such as “wellness programs,

diabetes treatment and control education, and tobacco cessation

programs, that have been demonstrated to reduce future healthcare costs

but are often underutilized by patients, including those at high or

elevated risk for future disease or complications.”11              One study in

Massachusetts—whose 2006 health care reform law was a model for the

ACA—found that “prevention increased outside of hospitals, resulting in

a decline in inpatient admissions for certain preventable conditions[,]”

and the study observed “declines in length of stay and admissions from

the emergency room following the reform.”12




management and reduce health care utilization and expenditures within
populations of employees and their spouses.”).
11Nat’l Ctr. for Chronic Disease Prev. & Health Promotion, Ctrs. for
Disease Control & Prevention, Understanding Value-Based Insurance
Design (2015), https://perma.cc/2XTY-KV6L.
12Jonathan T. Kolstad & Amanda E. Kowalski, The Impact of Health
Care Reform on Hospital and Preventive Care: Evidence From
Massachusetts, 96 J. Pub. Econ. 909 (2012), https://tinyurl.com/
mtdwfc74.
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III. THE DISTRICT COURT’S DECISION WOULD BE
     TREMENDOUSLY     DISRUPTIVE   TO   HEALTHCARE
     DELIVERY IN THE UNITED STATES AND DETRIMENTAL
     TO THE PUBLIC INTEREST.

     Eliminating the Preventive Services Mandate would prove

enormously disruptive for patients, health plans, and healthcare

providers. Nearly one-third of preventive services required to be covered

by the ACA were recommended by the Task Force after the ACA’s

enactment.13 Under the district court’s order, coverage of those services

without cost-sharing would no longer be required.

     Reducing or eliminating coverage for these preventive services

could unwind the hard-won public health achievements outlined above.

It could steer patients away from high-value preventive care, sow

confusion regarding available coverage, and increase health inequity

along economic and racial lines. These disruptive consequences illustrate




13 Zoe Chopra & A. Mark Fendrick, Clinical Implications of the
Braidwood Ruling: Use of Pre-ACA Task Force Recommendations,
Health Affairs (May 2, 2023), http://bit.ly/43PDD4Z; see also id.
(“Furthermore, a majority of recommendations receiving an A or B grade
prior [to] ACA passage were substantially revised after March 2010,
potentially leading to full coverage of services that are insufficient,
obsolete, or even harmful.”).
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why the public interest strongly favors maintaining the Preventive

Services Mandate pending curative agency action.

           A.   Eliminating the Preventive Services Mandate may
                cause some health plan sponsors to reduce or eliminate
                coverage for preventive care.

           In an effort to reduce short-term costs, some health plan sponsors

may reintroduce cost-sharing for preventive services or eliminate

coverage for preventive services. After the district court entered its first

merits decision in this matter, the Employee Benefit Research Institute

found that 8% of the employers it surveyed would impose cost-sharing for

preventive services if the Preventive Services Mandate were lifted.14 A

further 12% equivocated on the point.15 News reports and other analyses

likewise suggest that some employers who sponsor health plans for their

employees would reduce coverage absent the Preventive Services

Mandate.16 If even a small percentage of the nation’s employers elected



14Employee Benefits Research Inst., Will Employers Introduce Cost
Sharing for Preventive Services? Findings from EBRI’s First Employer
Pulse Survey (2022), https://perma.cc/4PPP-4G2S.
15   Id.
16See, e.g., Harris Meyer, Court Ruling May Spur Competitive Health
Plans to Bring Back Copays for Preventive Services, Kaiser Health News
(Sept. 15, 2022), https://perma.cc/GM8R-JE7W (health plan sponsors

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to impose cost-sharing for preventive services or cease covering

preventive services for their employees, it would detrimentally impact

millions of Americans. In addition, once a significant segment of the

marketplace reimposes cost-sharing for preventive services or eliminates

coverage, it could create perverse competitive incentives for others to

follow suit. Indeed, those health insurers and health plans that continue

to offer coverage for preventive services without cost-sharing may pay a

competitive price for doing so.17

     B.    Eliminating the Preventive Services Mandate will
           harm patients.

     The impact of such a retrenchment would be enormous—as reports

following the district court’s decision are bearing out. The initial impact

of a rollback of the Preventive Services Mandate will be patient




“would likely react by imposing deductibles and copays for some or all the
services recommended by the task force.”).
17 Sabrina Corlette, A World Without the ACA’s Preventive Services
Protections: The Impact of the Braidwood Decision, Geo. Univ. Health Pol.
Inst. Ctr. for Children & Families (Apr. 18, 2023), https://perma.cc/6G45-
E8MZ (“[I]t’s important to remember that . . . the ACA included the
requirement to cover preventive services without cost-sharing because
many health plans did not do so at the time. . . . If some health insurers
start rolling back benefits, it could become a competitive disadvantage
for other insurers not to do the same.”).
                                       15
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confusion.       Under the ACA, patients know with certainty that their

health insurance policies cover a range of preventive services at no out-

of-pocket cost to them. If that guarantee is eliminated, the result “will

be a confusing patchwork of insurance benefit designs.”18 Patients are

likely to be uncertain whether their health insurer will maintain

preventive services coverage in future years. “Patients who have serious

medical conditions or are at high risk for such conditions may have a hard

time finding a plan that fully covers preventive and screening services.”19

           Over the longer term, a rollback of the Preventive Services Mandate

will likely cause patients to forego preventive care.                     Just as the

elimination of cost-sharing caused more patients to seek preventive care,

its reimposition would likely have the opposite effect. This point was

illustrated by a recent Morning Consult poll—taken after the district

court’s merits decision—finding that at least 40% of Americans “are not

willing to pay for 11 of the 12 preventive services currently covered by




18   Id.
19   Meyer, supra note 16.
                                            16
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the ACA[.]”20 “Furthermore, at least half said they would not pay out of

pocket for preventive services such as tobacco cessation or screenings for

HIV, depression and unhealthy drug use.”21                    Less than half of the

respondents polled reported that they would pay for cancer screenings.22

Research confirms that patients facing out-of-pocket costs will forego or

postpone key preventive services.23

           This decrease in the use of preventive services would likely reverse

the recent improvements in population health described supra at 8–12.

Without the Preventive Services Mandate, Americans will be more likely

to develop chronic health conditions, less likely to identify maladies early

in their onset, and more likely to require costly curative interventions

like emergency room visits.           Rolling back the Preventive Services




 Ricky Zipp, Many Americans Are Likely to Skip Preventive Care if ACA
20

Coverage Falls Through, Morning Consult (2023), https://perma.cc/
W8ND-3TRS.
21   Id.
22   Id.
23Shameek Rakshit et al., How Does Cost Affect Access to Healthcare?,
Kaiser Fam. Found. (Jan. 30, 2023), https://perma.cc/689M-DLZL; see
also Zarek C. Brot-Goldberg et al., What Does A Deductible Do? The
Impact of Cost-Sharing on Health Care Prices, Quantities, and Spending
Dynamics, 132 Q. J. of Econ. 1261 (2017), https://tinyurl.com/36ezs5ub.
                                            17
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Mandate will likely increase morbidities and mortality.24                And the

consequences of these changes would be visited disproportionately on the

vulnerable, marginalized, and most price-sensitive populations that the

Preventive Services Mandate has most helped.25

                              *        *       *

     The ACA’s Preventive Services Mandate has produced enormous

societal and economic benefits. It has improved health outcomes for

millions of Americans and reduced racial and economic disparities in

health care delivery. The public interest strongly favors maintaining the

Preventive Services Mandate. The district court improperly failed to

consider the public interest in ordering nationwide equitable relief. Its

remedial order should therefore be vacated.




24See generally Gruber & Sommers, supra note 5; Fox & Shaw, supra
note 7.
25See generally Gavin, supra note 8; Thorpe, supra note 9; Agirdas &
Holding, supra note 9; Rakshit et al., supra note 23.
                                       18
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                         CONCLUSION

The judgment of the district court should be vacated.



June 27, 2023                             Respectfully submitted,

                                          /s/ K. Lee Blalack II
                                          K. Lee Blalack II
                                          Brian D. Boyle
                                          Jordan Peter Ascher
                                          O’MELVENY & MYERS LLP
                                          1625 Eye Street, N.W.
                                          Washington, D.C. 20006
                                          Telephone: (202) 383-5374

                                          Counsel for Amicus Blue Cross
                                          Blue Shield Association




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                       CERTIFICATE OF SERVICE

     I certify that on June 27, 2023, I electronically filed the foregoing

brief with the Clerk of the Court for the United States Court of Appeals

for the Fifth Circuit by using the appellate CM/ECF system. I further

certify that all participants in this case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.

                                                    /s/ K. Lee Blalack II
                                                    K. Lee Blalack II




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     This brief complies with the type-volume limitation of Federal Rule

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                                                   /s/ K. Lee Blalack II
                                                   K. Lee Blalack II




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